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                         The UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

In re:                                                         CASE NO: 8:19-bk-07508-CPM
                                                               CHAPTER 7
TZIREL B. BLEIER,

      Debtor
___________________________________/

                        PENNYMAC LOAN SERVICES, LLC'S
                  MOTION FOR RELIEF FROM THE AUTOMATIC STAY

                         (Re: 3122 Arlington Avenue, Bronx, NY 10463)

         NOTICE OF OPPORTUNITY TO OBJECT AND REQUEST FOR HEARING

Pursuant to Local Rule 2002-4, the Court will consider this the relief requested in this
paper without further notice or hearing unless a party in interest files a response within 21
days from the date set forth on the attached proof of service, plus an additional three days
for service if any party was served by U.S. Mail.

If you object to the relief requested in this paper, you must file a response with the Clerk of
the Court at 801 N. Florida Avenue, Suite 555, Tampa, FL 33602-3899, and serve a copy
on the movant’s attorney, Patrick Hruby, Esq., at Brock & Scott, PLLC, 2001 Northwest
64th Street, Suite 130 Fort Lauderdale, FL 33309, and any other appropriate persons
within the time allowed. If you file and serve a response within the time permitted, the
Court will either schedule and notify you of a hearing, or consider the response and grant
or deny the relief requested without a hearing.

If you do not file a response within the time permitted, the Court will consider that you do
not oppose the relief requested in the paper, will proceed to consider the paper without
further notice or hearing, and may grant the relief requested.


         PennyMac Loan Services, LLC, its successors and assigns ("Secured Creditor"), by and

through its undersigned counsel, files this Motion for Relief from the Automatic Stay, and in

support thereof states as follows:

1.       The Court has jurisdiction over this matter pursuant to 11 U.S.C. § 362, Fed. R. Bankr. P.

4001(a) and the various other applicable provisions of the United States Bankruptcy Code,


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Federal Rules of Bankruptcy Procedure and the laws of the United States of America.

2.     On August 8, 2019, TZIREL B. BLEIER (“Debtor” as used herein will refer to a single

or multiple Debtors), filed a voluntary petition pursuant to Chapter 7 of the Bankruptcy Code.

3.     Secured Creditor holds a security interest in the Debtor's real property located at 3122

Arlington Avenue, Bronx, NY 10463 (the “Property”), by virtue of a Mortgage which is

recorded in the Public Records Instrument 2016000131179 of Bronx County, New York (the

“Mortgage”). The Mortgage secures a Note in the amount of $800,238.00 (the “Note”). A copy

of the Mortgage, together with the Note and Assignments, as applicable, is attached hereto as

Exhibit A.

4.     The Mortgage gives Secured Creditor a lien on the Property, which is legally described as:

       ALL that certain plot, piece or parcel of land, with the buildings and
       improvements thereon erected, situate, lying and being in the Borough of the
       Bronx, City and State of New York, designated as Lot Number 66 on a
       certain map entitled "Map of Ninety Two lots belonging to the estate of
       Caroline G. Ewen, etc." made by Douglas Knox, dated December 15,1919,
       and filed in the Bronx County Register's Office on July 15, 1921, as Map No.
       458". Said premises known as 3122 Arlington Avenue, Bronx, NY 10463.

5.     The Property has been claimed exempt by the Debtor. The Property has not been

abandoned by the Trustee.

6.     According to the Chapter 7 Individual Debtor’s Statement of Intention, the Debtor is

surrendering the Property.    “See Declaration as to Surrendered Property attached hereto as

Exhibit B.”As of August 26, 2019, the Debtor is indebted to Secured Creditor in the amount of

$799,528.69 principal balance, with interest accruing, plus other fees and costs advanced by

Secured Creditor pursuant to the loan documents. Payments pursuant to the Mortgage have been

in default since December 1, 2018.

7.     According to the Debtor’s Schedule A, the value of the Property is $1,000,000.00. The



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property is further encumbered by a mortgage in favor of Clearwater Funding in the scheduled

amount of $150,000.00, leaving little or no equity in the Property for the benefit of creditors.

8.     Secured Creditor's interest in the Property is being significantly jeopardized by the

Debtor's failure to make regular mortgage payments while Secured Creditor is prohibited from

pursuing its lawful remedies to protect such interest. Thus, the Debtor has failed to adequately

protect the interest of Secured Creditor.

9.     In addition, because this is a Chapter 7 case, the Property is not necessary to an effective

reorganization.

10.    Therefore, Secured Creditor maintains that cause exists pursuant to 11 U.S.C. § 362(d)(1)

and/or § 362(d)(2) for the automatic stay to be lifted.

11.    Pursuant to 11 U.S.C. § 362(e), Secured Creditor requests that, in the event a hearing is

necessary, said hearing be held within thirty (30) days.

12.    Secured Creditor has incurred attorneys' fees of $750.00 and costs of $181.00 as a result

of the necessity of filing this Motion. Said fees and costs are recoverable as part of the debt

pursuant to the loan documents but shall not be a personal liability of the Debtor.

13.    Secured Creditor requests that any communication by Secured Creditor in connection

with proceeding against the property including, but not limited to, notices required by state law

and communications to offer and provide information with regard to a potential forbearance

agreement, loan modification, refinance agreement, loss mitigation agreement or other loan

workout, may be sent directly to the Debtor.

14.    Because Debtor has indicated an intention to surrender the Property, Secured Creditor

requests that the Court waive the fourteen (14) day stay set forth in Bankruptcy Rule 4001(a)(3),

so that Secured Creditor can pursue its in rem remedies without further delay.



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       WHEREFORE, Secured Creditor, and its successors and assigns, respectfully requests

that the automatic stay be lifted so that Secured Creditor may be permitted to protect its security

interest in the Property outside the bankruptcy forum; that in the event a hearing is necessary,

said hearing be held within thirty (30) days; that Secured Creditor's attorneys' fees and costs

incurred in filing this Motion be recoverable as part of the debt pursuant to the loan documents

under the remedies available therein but shall not be a personal liability of the Debtor; that

Secured Creditor be permitted to contact the Debtor for the reasons stated; that the fourteen (14)

day stay set forth in Bankruptcy Rule 4001(a)(3) be waived; and such other and further relief as

the Court may deem just and proper.



                                             BROCK & SCOTT, PLLC
                                             Attorney for Secured Creditor
                                             2001 Northwest 64th Street, Suite 130
                                             Fort Lauderdale, FL 33309
                                             Phone: (813) 342-2200
                                             Fax: (954) 618-6954
                                             Floridabklegal@Brockandscott.com

                                             /s/ Patrick Hruby
                                             ___________________________________
                                             PATRICK HRUBY, ESQUIRE
                                             Florida Bar No. 0088657


       I HEREBY CERTIFY that a true copy hereof has been served electronically or via U.S.

mail, first-class postage prepaid, to:

The following persons were served by U.S. mail:

Debtor
TZIREL B. BLEIER
137 NAVIGATION CIR
OSPREY, FL 34229-8801




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Thefollowingpersonswereservedbye-mail:

Debtor’s Counsel
Timothy W. Gensmer
2831 Ringling Blvd
Suite 202-A
Sarasota, FL 34237

Trustee
Traci K. Stevenson
P O Box 86690
Madeira Beach, FL 33738

U.S. Trustee
United States Trustee - TPA7/13
Timberlake Annex, Suite 1200
501 E Polk Street
Tampa, FL 33602


       this 12th day of September, 2019.

                                            BROCK & SCOTT, PLLC
                                            Attorney for Secured Creditor
                                            2001 Northwest 64th Street, Suite 130
                                            Fort Lauderdale, FL 33309
                                            Phone: (813) 342-2200
                                            Fax: (954) 618-6954
                                            Floridabklegal@Brockandscott.com

                                            /s/ Patrick Hruby

                                            PATRICK HRUBY, ESQUIRE
                                            Florida Bar No. 0088657




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                                               Exhibit “A”
                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

In re:                                                           CASE NO: 19-07508
                                                                 CHAPTER 7
TZIREL B. BLEIER,

      Debtor
_________________________________________/

                    DECLARATION AS TO SURRENDERED PROPERTY


         I, Patrick Hruby, declare under penalty of perjury as follows:
         1.      I am an attorney for Brock & Scott, PLLC, the law firm that filed the Motion for

Relief from Stay on behalf of PennyMac Loan Services, LLC (the “Movant”.)

         2.      This Declaration is being filed in support of the Motion for Relief from Stay filed

in this action by Movant, its Successors and/or Assigns.

         3.      I have personally reviewed the Debtor's Voluntary Petition filed in this case.

According to the Debtor's Statement of Intentions, the Debtor(s) intends to surrender the real

property located at: 3122 Arlington Avenue, Bronx, NY 10463, further described as:

         ALL that certain plot, piece or parcel of land, with the buildings and improvements
         thereon erected, situate, lying and being in the Borough of the Bronx, City and State of
         New York, designated as Lot Number 66 on a certain map entitled "Map of Ninety Two
         lots belonging to the estate of Caroline G. Ewen, etc." made by Douglas Knox, dated
         December 15,1919, and filed in the Bronx County Register's Office on July 15, 1921, as
         Map No. 458". Said premises known as 3122 Arlington Avenue, Bronx, NY 10463.

          4.     As of the date of this declaration, I have examined the CM/ ECF docket for this
case and have found no entries evidencing a contrary intent on the part of the Debtor.




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Pursuant to 28 U.S.C. § 1746, I hereby declare under penalty of perjury under the laws of the
United States of America that the foregoing is true and correct. Executed this 12th day of
September, 2019.



                                          /s/PatrickHruby
                                          PATRICK HRUBY, ESQUIRE
                                          Florida Bar No. 0088657



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